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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

  ROTOLIGHT LIMITED                                   §
                                                      §
            Plaintiff,                                §
                                                      §
  v.                                                  §        Case No.
                                                      §
  VIDENDUM PLC, VIDENDUM                              §        JURY TRIAL DEMANDED
  PRODUCTION SOLUTIONS, INC.                          §
                                                      §
            Defendants.                               §


                          COMPLAINT FOR PATENT INFRINGEMENT

       Rotolight Limited (“Rotolight” or “Plaintiff”), by and through its attorneys, for its

Complaint for patent infringement against Videndum PLC and Videndum Production Solutions,

Inc. (collectively, “Videndum” or “Defendants”), and demanding trial by jury, hereby alleges, on

information and belief with regard to the actions of Defendants and on knowledge with regard to

its own actions, as follows:

                                     I.     INTRODUCTION

       1.        Plaintiff brings this patent infringement action to protect its pioneering patented

technology relating to innovative lighting systems featuring its industry first cinematic special

effect solutions “CineSFX ®” for feature film, TV/Broadcast and video production.

       2.        Rotolight manufactures, and sells world-wide its award-winning, patented LED

lights containing advanced, patented technology for use in film, TV, and special effect

cinematography.

       3.        Rotolight is a family business based in the UK and has been recognized for its

innovation and advancement of engineering excellence in the television and film industry.

       4.        Rotolight’s products are used regularly by leading broadcasters and film production

companies including Netflix, Amazon Studios, Sky, BBC, RAI, and ITV.


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       5.      Rotolight won amongst many other awards, the prestigious Cinec Lighting

Engineering Award for “outstanding and market-ready achievements and innovations in motion

picture and post-production technology.”

       6.      Rotolight was the first to market to have user customizable cinematic special effects

integrated in its LED lights for the film and TV industries, which saves filmmakers,

cinematographers, and lighting gaffers considerable time and money on set by simplifying their

workflows by eliminating the need for complicated and expensive traditional “flicker box” effect

generators, and other equipment typically associated with special effects using conventional

lighting technology.

       7.      Rotolight has been consistently recognized for its innovation and advancement of

engineering excellence in the broadcast market, has won over 30 international awards from leading

industry publications, and has been awarded over 40 patents.

       8.      Cinematic Special Effects, “CineSFX” is a registered trademark of Rotolight

Limited.

                              II.     NATURE OF THE ACTION

       9.      This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. §§ 271, et seq., to enjoin and obtain damages resulting from Defendants’

unauthorized use, sale, and offer to sell in the United States, of products, methods, processes,

services and/or systems that infringe Plaintiff’s United States patents, as described herein.

       10.     Defendants, individually and collectively as a single business entity, manufacture,

provide, use, sell, offer for sale, import, and/or distribute infringing products and services, and

encourages others to use their products and services in an infringing manner, as set forth herein.




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       11.       Plaintiff seeks to enjoin Defendants and also past and future damages and

prejudgment and post-judgment interest for Defendants’ infringement of the Asserted Patents, as

defined below.

                                           III.    PARTIES

       12.       Plaintiff Rotolight Limited is a limited company organized and existing under the

law of the England, with its principal place of business located Wooburn Industrial Park, Unit 10,

Thomas Road, High Wycombe, Buckinghamshire, England, HP10 0PE.

       13.       Rotolight is the owner of the entire right, title, and interest of the Asserted Patents,

as defined below.

       14.       On information and belief, Defendant Videndum PLC is a UK Public Limited

Company with its principal place of business at Bridge House, Heron Square, Richmond TW9

1EN, UK. Videndum PLC may be served pursuant to Fed. R. Civ. P. 4(f)(1).

       15.       On information and belief, Defendant Videndum Production Solutions, Inc. is a

Delaware corporation with its principal place of business at William Vinten Building Easlea Road

Moreton Hall Estate Bury St Edmunds Suffolk IP32 7BY UK. Videndum Production Solutions

may be served through its registered agent Corporation Service Company, 251 Little Falls Drive,

Wilmington, DE 19808.

       16.       On information and belief, Defendants were formally known as Vitec PLC and

Vitec Production Solutions, Inc.

                               IV.     JURISDICTION AND VENUE

       17.       This is an action for patent infringement that arises under the patent laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 283, 284, and 285.




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        18.     This Court has exclusive jurisdiction over the subject matter of this action under 28

U.S.C. §§ 1331 and 1338(a).

        19.     This Court has personal jurisdiction over Videndum PLC in this action because

Videndum PLC has committed acts within the District of Delaware giving rise to this action and

has established minimum contacts with this forum such that the exercise of jurisdiction over

Videndum PLC would not offend traditional notions of fair play and substantial justice. Videndum

PLC, directly and/or through subsidiaries or intermediaries (including distributors, retailers, and

others), has committed and continues to commit acts of infringement in this District by, among

other things, offering to sell and selling products and/or services that infringe the patents-in-suit.

Moreover, Videndum PLC actively directs its activities to customers located in the State of

Delaware.

        20.     This Court has personal jurisdiction over Videndum Production Solutions, Inc. in

this action because Videndum Production Solutions, Inc. in incorporated in this District.

Videndum Production Solutions, Inc. directly and/or through subsidiaries or intermediaries

(including distributors, retailers, and others), has committed and continues to commit acts of

infringement in this District by, among other things, offering to sell and selling products and/or

services that infringe the patents-in-suit.

        21.     Venue is proper in this District under 28 U.S.C. §§ 1391(b)-(d) and 1400(b) for

both Defendants. Videndum PLC is a foreign corporation not residing in the United States. Upon

information and belief, Videndum PLC has transacted business in the District of Delaware and has

committed acts of direct and indirect infringement in the District of Delaware. Videndum

Production Solutions, Inc. is incorporated in the State of Delaware, and upon information and




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belief, has transacted business in the District of Delaware and has committed acts of direct and

indirect infringement in this District.

                          V.   COUNTS OF PATENT INFRINGEMENT

        22.     Plaintiff alleges that Defendants have infringed and continue to infringe the

following United States patents (collectively, the “Asserted Patents”):

                United States Patent No. 10,197,257 (the “’257 Patent”) (Exhibit A)
                United States Patent No. 10,197,258 (the “’258 Patent”) (Exhibit B)
                United States Patent No. 10,845,044 (the “’044 Patent”) (Exhibit C)

                                     COUNT ONE
                          INFRINGEMENT OF U.S. PATENT 10,197,257

        23.     Plaintiff incorporates by reference the allegations in all preceding paragraphs as if

fully set forth herein.

        24.     The ’257 Patent, entitled “Lighting System and Control Thereof,” was filed on

November 22, 2017, claims priority to a provisional application filed on April 8, 2016, and issued

on February 5, 2019.

        25.     Plaintiff is the assignee and owner of all rights, title, and interest to the ’257 Patent,

including the right to recover for past infringements, and has the legal right to enforce the patent,

sue for infringement, and seek equitable relief and damages.

                                          Technical Description

        26.     The ’257 Patent claims a “method for controlling a lighting device to produce a

range of user customizable realistic lighting effects for videography, broadcasting,

cinematography, studio filming and/or location filming” ’257 Patent, Abstract.

        27.     The ’257 Patent provides a technical solution to prior art problems by, among other

improvements, eliminating the need for a separate lighting device, that is used to produce light




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effects to mimic lighting effects for example simulating a fireplace, candle, electrical spark or

lightning for on set television/broadcast production use. ’257 Patent, 1:18-41.

                                       Direct Infringement

       28.     Defendants, individually and collectively as a common business enterprise and

without authorization or license from Plaintiff, have been and are directly infringing the ’257

Patent, either literally or equivalently, as infringement is defined by 35 U.S.C. § 271, including

through making, using (including for testing purposes), importing, selling, and offering for sale

lighting devices that infringe one or more claims of the ’257 Patent. Defendants, individually and

collectively as a common business enterprise, develop, design, manufacture, sell, and distribute

lighting devices that infringe one or more claims of the ’257 Patent. Defendants further provide

services that practice methods that infringe one or more claims of the ’257 Patent. Defendants are

thus liable for direct infringement pursuant to 35 U.S.C. § 271. Exemplary infringing products

include, but are not limited to, the Litepanels Gemini Series (e.g., the Gemini 1X1 Soft, the Gemini

1X1 Hard, the Gemini 2X1 Soft, and the Gemini 2X1 Hard); Quasar Science Double Rainbow

(RR), Rainbow 2 (R2), and Rainbow linear LED lights; and all other substantially similar products

(collectively the “’257 Accused Products”).

       29.     Plaintiff names these exemplary infringing instrumentalities to serve as notice of

Defendants’ infringing acts, but Plaintiff reserves the right to name additional infringing products,

known to or learned by Plaintiff or revealed during discovery, and include them in the definition

of ’257 Accused Products.

       30.     Defendants are liable for direct infringement pursuant to 35 U.S.C. § 271 for the

manufacture, sale, offer for sale, importation, or distribution of the ’257 Accused Products and

other similar products.




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        31.     The ’257 Accused Products are non-limiting examples of lighting systems that meet

all limitations of at least claim 15 of the ’257 Patent, either literally or equivalently.

        32.     The ’257 Accused Products include a controller adapted to control at least one

lighting device to produce a user customisable lighting effect.




                          https://www.litepanels.com/en/products/gemini/




                          https://www.litepanels.com/en/products/gemini/.




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       33.     The controller of the ’257 Accused Products comprises an effect simulator adapted

to calculate a time varying lighting value based on at least one simulation parameter; wherein said

at least one simulation parameter characterizes a user customisable lighting effect selected from a

range of different user customisable lighting effects for at least one of: videography, broadcasting,

cinematography, studio filming, and location filming; wherein the at least one simulation

parameter is at least one of: a random brightness; a random duration; and a random interval; said

simulation parameter depending on the user customisable lighting effect being simulated:

      “The Gemini family of lights has a robust Effects Mode for creating a wide range of
       dynamic lighting effects. Each effect can be customized to create thousands of variations.
       This document provides detailed descriptions of each effect parameter and how it is
       accessed and controlled through the onboard user interface.
       To enter Effects Mode, press the LEFT KNOB to open the main menu and scroll to
       EFFECTS MODE by twisting the LEFT KNOB. Press the LEFT KNOB to enter Effects
       mode. Within Effects mode, turn the LEFT KNOB to choose a particular effect and press
       the LEFT KNOB to activate the selected effect. The interface will switch to Parameter
       Control Mode, where you can customize the individual parameter of the selected effect.”
       Gemini Effects Guide (Rev. C – Nov. 2019), p. 2

      “One light, infinite creativity. With precision control over 16.7 million colors and a wide
       range of gels and fully customizable cinematic effects, Gemini is the only fixture you will
       need on set. From simulating fire or a television, washing a green screen or matching a
       color palette, Gemini’s beautifully rich color output with outstanding depth, vibrancy and
       intensity means that whatever the situation the light you need is already on set and just the
       touch of a button away.” https://www.litepanels.com/en/products/gemini-1x1/

      “With an intuitive UI for fast menu selection and customizable pre-set buttons for quick
       recall of your favorite scenes and settings [such as Cinematic special FX], Gemini makes
       professional results available at the touch of a button, helping you operate with efficiency
       and save time on set.” https://www.litepanels.com/en/products/gemini-1x1/




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            https://www.litepanels.com/en/products/gemini-1x1-hard/




               https://www.litepanels.com/en/products/gemini-2x1




                Gemini Effects Guide (Rev. C – Nov. 2019), p. 2




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                        https://www.litepanels.com/en/products/gemini-1x1/




                      https://www.litepanels.com/en/products/gemini-1x1/

       34.     The ’258 Accused Products’ “fireworks,” “party lites,” “fire,” “lite-ning,”

“paparazzi,” and “tv/monitor” simulations, for example, vary over time and are generated based

on the adjusted effect parameters:




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 4




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 7




Gemini Effects Guide (Rev. C – Nov. 2019), p. 3




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                 Gemini Effects Guide (Rev. C – Nov. 2019), p. 6




                Gemini Effects Guide (Rev. C – Nov. 2019), p. 6




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                        Gemini Effects Guide (Rev. C – Nov. 2019), p. 11

       35.     The controller of the ’257 Accused Products further comprises an output of the

effect simulator adapted to control a lighting device according to the calculated variation of

lighting over time.




                      https://www.litepanels.com/en/products/gemini-1x1-hard/



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         https://www.litepanels.com/en/knowledge-base/gemini-effects-series/




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            https://www.litepanels.com/en/applications/lighting-for-mood/




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            https://www.litepanels.com/en/applications/christian-herrara/




              https://www.litepanels.com/en/products/gemini-1x1-hard/




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                                        Willful Infringement

        36.     Upon information and belief, Defendants have had actual knowledge (or should

have been aware) of the ’257 Patent and its infringement since at least November of 2019 when

Rotolight approached Vitec to take a license to its intellectual property.

        37.     Further, Defendants have had actual knowledge of the ’257 Patent and its

infringement since at least service of Plaintiff’s Complaint.

        38.     Although Defendants have incorporated Plaintiff’s patented technology as set forth

in this Complaint, Defendants have no license to use the technology described in Plaintiff’s

technical materials and claims disclosed in the patents, which are assigned to Plaintiff.

        39.     Defendants’ risk of infringement of the Asserted Patents was either known or was

so obvious that it should have been known to Defendants.

        40.     Notwithstanding this knowledge, Defendants have knowingly or with reckless

disregard willfully infringed the ’257 Patent. Defendants have thus had actual notice of the

infringement of the ’257 Patent and acted despite an objectively high likelihood that their actions

constituted infringement of Plaintiff’s valid patent rights, either literally or equivalently.

        41.     This objective risk was either known or so obvious that it should have been known

to Defendants. Accordingly, Defendants’ infringement has been and continues to be willful, and

Plaintiff seeks enhanced damages pursuant to 35 U.S.C. §§ 284 and 285.

                       Indirect, Induced, and Contributory Infringement

        42.     Defendants have induced and are knowingly inducing their distributors, testers,

trainers, customers, and/or end-users to directly infringe the ’257 Patent, with the specific intent

to induce acts constituting infringement, and knowing that the induced acts constitute patent

infringement, either literally or equivalently.




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          43.   Defendants have knowingly contributed to direct infringement by their customers

by having imported, sold, and/or offered for sale, and knowingly importing, selling, and/or offering

to sell within the United States the ’257 Accused Products which are not suitable for substantial

non-infringing use, and which are especially made or specially adapted for use by its customers in

an infringement of the ’257 Patent.

          44.   Defendants’ indirect infringement includes, for example, providing data sheets,

technical guides, demonstrations, software and hardware specifications, installation guides, and

other forms of support that induce their customers and/or end-users to directly infringe the ’257

Patent.

          45.   Defendants’ indirect infringement additionally includes marketing their products

for import by their customers into the United States. Defendants’ indirect infringement further

includes providing product specifications instructing its customers on infringing uses of the

accused products. The ’257 Accused Products are designed in such a way that when they are used

for their intended purpose, the user infringes the ’257 Patent, either literally or equivalently.

Defendants know and intend that customers who purchase the ’257 Accused Products will use

those products for their intended purpose. For example, Defendant’s United States website,

https://www.litepanels.com/en, instructs customers to use the ’257 Accused Products in numerous

infringing applications. Defendants’ customers directly infringe the ’257 Patent when they follow

Defendant’s provided instructions. Defendants specifically intend that their customers, such as

United States distributors, retailers and consumer product companies, will import, use, and sell

infringing products in the United States to serve and develop the United States market for

Defendants’ infringing products.




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        46.     Defendants know following their instructions directly infringes claims of the ’257

Patent and Defendants’ customers who follow Defendants’ provided instructions directly infringe

the ’257 Patent.

        47.     As a result of Defendants’ infringement, Plaintiff has suffered monetary damages,

and is entitled to an award of damages adequate to compensate it for such infringement which, by

law, can be no less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 US.C. § 284.

                                     COUNT TWO
                          INFRINGEMENT OF U.S. PATENT 10,197,258

        48.     Plaintiff incorporates by reference the allegations in all preceding paragraphs as if

fully set forth herein.

        49.     The ’258 Patent, entitled “Light System and Control Thereof,” was filed on

December 21, 2017, and issued on February 5, 2019.

        50.     Plaintiff is the assignee and owner of all rights, title, and interest to the ’258 Patent,

including the right to recover for past infringements, and has the legal right to enforce the patent,

sue for infringement, and seek equitable relief and damages.

                                        Technical Description

        51.     The ’258 Patent relates to a lighting system comprising: “a lighting device; and a

controller for controlling the lighting device to produce user customizable realistic lighting effects,

the controller comprising: a calculating device adapted to calculate a time varying lighting value

based on at least one simulation parameter; and adapted to output said time varying lighting value

to said lighting device so as to simulate a user customizable realistic lighting effect; wherein said

lighting device and said controller are integrated in a combined unit.” ’285 Patent, Abstract.




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       52.     The ’258 Patent provides a technical solution to prior art problems by, among other

improvements, eliminating the need for a separate lighting device, that is used to produce light

effects to mimic lighting effects for example simulating a fireplace, candle, electrical spark or

lightning for on set television/broadcast production use. ’258 Patent, 1:21-26.

                                       Direct Infringement

       53.     Defendants, individually and collectively as a common business enterprise and

without authorization or license from Plaintiff, have been and are directly infringing the ’258

Patent, either literally or equivalently, as infringement is defined by 35 U.S.C. § 271, including

through making, using (including for testing purposes), importing, selling, and offering for sale

lighting devices that infringe one or more claims of the ’258 Patent. Defendants, individually and

collectively as a common business enterprise, develop, design, manufacture, sell, and distribute

lighting devices that infringe one or more claims of the ’258 Patent. Defendants further provide

services that practice methods that infringe one or more claims of the ’258 Patent. Defendants are

thus liable for direct infringement pursuant to 35 U.S.C. § 271. Exemplary infringing products

include, but are not limited to, the Litepanels Gemini Series (e.g., the Gemini 1X1 Soft, the Gemini

1X1 Hard, the Gemini 2X1 Soft, and the Gemini 2X1 Hard); Quasar Science Double Rainbow

(RR), Rainbow 2 (R2), and Rainbow linear LED lights; and all other substantially similar products

(collectively the “’258 Accused Products”).

       54.     Plaintiff names these exemplary infringing instrumentalities to serve as notice of

Defendants’ infringing acts, but Plaintiff reserves the right to name additional infringing products,

known to or learned by Plaintiff or revealed during discovery, and include them in the definition

of ’258 Accused Products.




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        55.     Defendants are liable for direct infringement pursuant to 35 U.S.C. § 271 for the

manufacture, sale, offer for sale, importation, or distribution of the ’258 Accused Products and

other similar products.

        56.     The ’258 Accused Products are non-limiting examples of lighting systems that meet

all limitations of at least claim 1 of the ’258 Patent, either literally or equivalently.




https://www.litepanels.com/en/products/gemini/

        57.     The ’258 Accused Products include a lighting device:




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                 https://www.litepanels.com/en/products/gemini/




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                      https://www.litepanels.com/en/products/gemini-1x1/


       58.     The ’258 Accused Products include a controller adapted to control the lighting

device to produce a user customisable cinematic lighting special effect selected from a range of

different user customisable cinematic lighting special effects, the controller comprising:

      “The Gemini family of lights has a robust Effects Mode for creating a wide range of
       dynamic lighting effects. Each effect can be customized to create thousands of variations.
       This document provides detailed descriptions of each effect parameter and how it is
       accessed and controlled through the onboard user interface.
       To enter Effects Mode, press the LEFT KNOB to open the main menu and scroll to
       EFFECTS MODE by twisting the LEFT KNOB. Press the LEFT KNOB to enter Effects
       mode. Within Effects mode, turn the LEFT KNOB to choose a particular effect and press
       the LEFT KNOB to activate the selected effect. The interface will switch to Parameter
       Control Mode, where you can customize the individual parameter of the selected effect.”
       Gemini Effects Guide (Rev. C – Nov. 2019), p. 2

      “One light, infinite creativity. With precision control over 16.7 million colors and a wide
       range of gels and fully customizable cinematic effects, Gemini is the only fixture you will
       need on set. From simulating fire or a television, washing a green screen or matching a
       color palette, Gemini’s beautifully rich color output with outstanding depth, vibrancy and
       intensity means that whatever the situation the light you need is already on set and just the
       touch of a button away.” https://www.litepanels.com/en/products/gemini-1x1/




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      “With an intuitive UI for fast menu selection and customizable pre-set buttons for quick
       recall of your favorite scenes and settings, Gemini makes professional results available at
       the touch of a button, helping you operate with efficiency and save time on set.”
       https://www.litepanels.com/en/products/gemini-1x1/




https://www.litepanels.com/en/products/gemini-2x1




Gemini Effects Guide (Rev. C – Nov. 2019), p. 2




                      https://www.litepanels.com/en/products/gemini-1x1/




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                      https://www.litepanels.com/en/products/gemini-1x1/


       59.     The ’258 Accused Products include a controller comprising an input interface for

receiving user input to enable a user to select user customisable cinematic lighting special effect

from said range of different user customisable cinematic lighting special effects:




                        Gemini Effects Guide (Rev. C – Nov. 2019), p. 2




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                 https://www.litepanels.com/en/products/gemini-1x1/




     https://www.litepanels.com/en/litepanels/gemini-1x1-soft-panel-us/c-1027/p-1813




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       60.     The ’258 Accused Products include a controller comprising an effect simulator

adapted to calculate a time varying lighting value based on at least one simulation parameter. The

at least one simulation parameter depends on the selected user customisable cinematic lighting

special effect being simulated and is adapted to output the time varying lighting value to the

lighting device so as to simulate the selected user customisable cinematic lighting special effect:

      “The Gemini family of lights has a robust Effects Mode for creating a wide range of
       dynamic lighting effects. Each effect can be customized to create thousands of variations.
       This document provides detailed descriptions of each effect parameter and how it is
       accessed and controlled through the onboard user interface.
       To enter Effects Mode, press the LEFT KNOB to open the main menu and scroll to
       EFFECTS MODE by twisting the LEFT KNOB. Press the LEFT KNOB to enter Effects
       mode. Within Effects mode, turn the LEFT KNOB to choose a particular effect and press
       the LEFT KNOB to activate the selected effect. The interface will switch to Parameter
       Control Mode, where you can customize the individual parameter of the selected effect.”
       Gemini Effects Guide (Rev. C – Nov. 2019), p. 2

      “One light, infinite creativity. With precision control over 16.7 million colors and a wide
       range of gels and fully customizable cinematic effects, Gemini is the only fixture you will
       need on set. From simulating fire or a television, washing a green screen or matching a
       color palette, Gemini’s beautifully rich color output with outstanding depth, vibrancy and
       intensity means that whatever the situation the light you need is already on set and just the
       touch of a button away.” https://www.litepanels.com/en/products/gemini-1x1/

      “With an intuitive UI for fast menu selection and customizable pre-set buttons for quick
       recall of your favorite scenes and settings [such as Cinematic special FX], Gemini makes
       professional results available at the touch of a button, helping you operate with efficiency
       and save time on set.” https://www.litepanels.com/en/products/gemini-1x1/




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              https://www.litepanels.com/en/products/gemini-1x1-hard/




         https://www.litepanels.com/en/knowledge-base/gemini-effects-series/




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            https://www.litepanels.com/en/applications/lighting-for-mood/




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            https://www.litepanels.com/en/applications/christian-herrara/




              https://www.litepanels.com/en/products/gemini-1x1-hard/




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       61.    The ’258 Accused Products calculate, using an effect simulator, a time varying

lighting value based on at least one simulation parameter. For example:




Gemini Effects Guide (Rev. C – Nov. 2019), p. 2




                      https://www.litepanels.com/en/products/gemini-1x1/




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                      https://www.litepanels.com/en/products/gemini-1x1/

       62.    The ’258 Accused Products’ “fireworks,” “party lites,” “fire,” “lite-ning,”

“paparazzi,” and “tv/monitor” simulations, for example, vary over time and are generated based

on the adjusted effect parameters, including, for example, random colors:




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 4




Gemini Effects Guide (Rev. C – Nov. 2019), p. 7



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Gemini Effects Guide (Rev. C – Nov. 2019), p. 3




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 6




Gemini Effects Guide (Rev. C – Nov. 2019), p. 6




                                           36
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Gemini Effects Guide (Rev. C – Nov. 2019), p. 11

      63.    The lighting device and controller are integrated in a combined unit in the ’258

Accused Products.




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                         https://www.litepanels.com/en/products/gemini/

                                       Willful Infringement

       64.     Upon information and belief, Defendants have had actual knowledge (or should

have been aware) of the ’258 Patent and its infringement since at least November of 2019 when

Rotolight approached Vitec to take a license to its intellectual property.


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        65.     Further, Defendants have had actual knowledge of the ’258 Patent and its

infringement since at least service of Plaintiff’s Complaint.

        66.     Although Defendants have incorporated Plaintiff’s patented technology as set forth

in this Complaint, Defendants have no license to use the technology described in Plaintiff’s

technical materials and claims disclosed in the patents, which are assigned to Plaintiff.

        67.     Defendants’ risk of infringement of the Asserted Patents was either known or was

so obvious that it should have been known to Defendants.

        68.     Notwithstanding this knowledge, Defendants have knowingly or with reckless

disregard willfully infringed the ’258 Patent. Defendants have thus had actual notice of the

infringement of the ’258 Patent and acted despite an objectively high likelihood that their actions

constituted infringement of Plaintiff’s valid patent rights, either literally or equivalently.

        69.     This objective risk was either known or so obvious that it should have been known

to Defendants. Accordingly, Defendants’ infringement has been and continues to be willful, and

Plaintiff seeks enhanced damages pursuant to 35 U.S.C. §§ 284 and 285.

                       Indirect, Induced, and Contributory Infringement

        70.     Defendants have induced and are knowingly inducing their distributors, testers,

trainers, customers, and/or end-users to directly infringe the ’258 Patent, with the specific intent

to induce acts constituting infringement, and knowing that the induced acts constitute patent

infringement, either literally or equivalently.

        71.     Defendants have knowingly contributed to direct infringement by their customers

by having imported, sold, and/or offered for sale, and knowingly importing, selling, and/or offering

to sell within the United States the ’258 Accused Products which are not suitable for substantial




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non-infringing use and which are especially made or specially adapted for use by its customers in

an infringement of the ’258 Patent.

          72.   Defendants’ indirect infringement includes, for example, providing data sheets,

technical guides, demonstrations, software and hardware specifications, installation guides, and

other forms of support that induce their customers and/or end-users to directly infringe the ’258

Patent.

          73.   Defendants’ indirect infringement additionally includes marketing their products

for import by their customers into the United States. Defendants’ indirect infringement further

includes providing product specifications instructing its customers on infringing uses of the

accused products. The ’258 Accused Products are designed in such a way that when they are used

for their intended purpose, the user infringes the ’258 Patent, either literally or equivalently.

Defendants know and intend that customers who purchase the ’258 Accused Products will use

those products for their intended purpose. For example, Defendant’s United States website,

https://www.litepanels.com/en, instructs customers to use the ’258 Accused Products in numerous

infringing applications. Defendants’ customers directly infringe the ’258 Patent when they follow

Defendant’s provided instructions. Defendants specifically intend that their customers, such as

United States distributors, retailers and consumer product companies, will import, use, and sell

infringing products in the United States to serve and develop the United States market for

Defendants’ infringing products.

          74.   Defendants know following their instructions directly infringes claims of the ’258

Patent and Defendants’ customers who follow Defendants’ provided instructions directly infringe

the ’258 Patent.




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        75.     As a result of Defendants’ infringement, Plaintiff has suffered monetary damages,

and is entitled to an award of damages adequate to compensate it for such infringement which, by

law, can be no less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 US.C. § 284.

                                    COUNT THREE
                          INFRINGEMENT OF U.S. PATENT 10,845,044

        76.     Plaintiff incorporates by reference the allegations in all preceding paragraphs as if

fully set forth herein.

        77.     The ’044 Patent, entitled “Lighting System and Control Thereof,” was filed on

April 7, 2017, and issued on November 24, 2020.

        78.     Plaintiff is the assignee and owner of all rights, title, and interest to the ’044 Patent,

including the right to recover for past infringements, and has the legal right to enforce the patent,

sue for infringement, and seek equitable relief and damages.

                                        Technical Description

        79.     The ’044 Patent relates to a method for controlling a lighting device to produce user

customisable lighting effects.” ’044 Patent, Abstract.

        80.     The ’044 Patent provides a technical solution to prior art problems by, among other

improvements, eliminating the need for a separate lighting device, that is used to produce light

effects to mimic lighting effects for example simulating a fireplace, candle, electrical spark or

lightning for on set television/broadcast production use. ’044 Patent, 1:18-41.

                                         Direct Infringement

        81.     Defendants, individually and collectively as a common business enterprise and

without authorization or license from Plaintiff, have been and are directly infringing the ’044

Patent, either literally or equivalently, as infringement is defined by 35 U.S.C. § 271, including



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through making, using (including for testing purposes), importing, selling, and offering for sale

lighting devices that infringe one or more claims of the ’044 Patent. Defendants, individually and

collectively as a common business enterprise, develop, design, manufacture, sell, and distribute

lighting devices that infringe one or more claims of the ’044 Patent. Defendants further provide

services that practice methods that infringe one or more claims of the ’044 Patent. Defendants are

thus liable for direct infringement pursuant to 35 U.S.C. § 271. Exemplary infringing products

include, but are not limited to, the Litepanels Gemini Series (e.g., the Gemini 1X1 Soft, the Gemini

1X1 Hard, the Gemini 2X1 Soft, and the Gemini 2X1 Hard); Quasar Science Double Rainbow

(RR), Rainbow 2 (R2), and Rainbow linear LED lights; and all other substantially similar products

(collectively the “’044 Accused Products”).

        82.     Plaintiff names these exemplary infringing instrumentalities to serve as notice of

Defendants’ infringing acts, but Plaintiff reserves the right to name additional infringing products,

known to or learned by Plaintiff or revealed during discovery, and include them in the definition

of ’044 Accused Products.

        83.     Defendants are liable for direct infringement pursuant to 35 U.S.C. § 271 for the

manufacture, sale, offer for sale, importation, or distribution of the ’044 Accused Products and

other similar products.

        84.     The ’044 Accused Products are non-limiting examples of systems adapted to

control at least one lighting device to produce a range of different user customisable lighting effects

that meet all limitations of at least claim 12 of the ’044 Patent, either literally or equivalently.




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                 https://www.litepanels.com/en/products/gemini/




                 https://www.litepanels.com/en/products/gemini/


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       85.     The ’044 Accused Products include an input interface adapted to receive user input

of at least one user input simulation parameter to customize a lighting effect.

      “The Gemini family of lights has a robust Effects Mode for creating a wide range of
       dynamic lighting effects. Each effect can be customized to create thousands of variations.
       This document provides detailed descriptions of each effect parameter and how it is
       accessed and controlled through the onboard user interface.
       To enter Effects Mode, press the LEFT KNOB to open the main menu and scroll to
       EFFECTS MODE by twisting the LEFT KNOB. Press the LEFT KNOB to enter Effects
       mode. Within Effects mode, turn the LEFT KNOB to choose a particular effect and press
       the LEFT KNOB to activate the selected effect. The interface will switch to Parameter
       Control Mode, where you can customize the individual parameter of the selected effect.”
       Gemini Effects Guide (Rev. C – Nov. 2019), p. 2

      “With an intuitive UI for fast menu selection and customizable pre-set buttons for quick
       recall of your favorite scenes and settings, [such as Cinematic special FX] Gemini makes
       professional results available at the touch of a button, helping you operate with efficiency
       and save time on set.” https://www.litepanels.com/en/products/gemini-1x1/




                       https://www.litepanels.com/en/products/gemini-2x1




Gemini Effects Guide (Rev. C – Nov. 2019), p. 2




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                  https://www.litepanels.com/en/products/gemini-1x1/




    https://www.litepanels.com/en/litepanels/gemini-1x1-soft-panel-us/c-1027/p-1813




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                    https://www.litepanels.com/en/products/gemini-1x1/




Gemini Effects Guide (Rev. C – Nov. 2019), p. 4




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 7




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 3




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 6




Gemini Effects Guide (Rev. C – Nov. 2019), p. 6




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Gemini Effects Guide (Rev. C – Nov. 2019), p. 11

       86.     The ’044 Accused Products also include a memory adapted to store said at least

one user input simulation parameter, said at least one user input simulation parameter depending

on the lighting effect being simulated:




Gemini Effects Guide (Rev. C – Nov. 2019), p. 2




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https://www.youtube.com/watch?v=NFjFfn6xXGs


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https://www.youtube.com/watch?v=NFjFfn6xXGs

       87.     The ’044 Accused Products include an effect simulator adapted to recall from said

memory said at least one stored user input simulation parameter; and calculate a time varying

lighting value based on said recalled simulation parameter;




Gemini Effects Guide (Rev. C – Nov. 2019), p. 2




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https://www.youtube.com/watch?v=NFjFfn6xXGs


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https://www.youtube.com/watch?v=NFjFfn6xXGs




https://www.youtube.com/watch?v=NFjFfn6xXGs




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        88.        The effect simulator of the ’044 Accused Products is further adapted to output said

calculated time varying lighting value to the at least one lighting device thereby to simulate a

lighting effect.




https://www.litepanels.com/en/products/gemini-1x1-hard/




https://www.litepanels.com/en/knowledge-base/gemini-effects-series/



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            https://www.litepanels.com/en/applications/lighting-for-mood/




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https://www.litepanels.com/en/applications/christian-herrara/




https://www.litepanels.com/en/products/gemini-1x1-hard/

                                     Willful Infringement

       89.     Upon information and belief, Defendants have had actual knowledge (or should

have been aware) of the ’044 Patent and its infringement since at least and its infringement since



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at least November of 2019 when Rotolight approached Vitec to take a license to its intellectual

property.

        90.     Further, Defendants have had actual knowledge of the ’044 Patent and its

infringement since at least service of Plaintiff’s Complaint.

        91.     Although Defendants have incorporated Plaintiff’s patented technology as set forth

in this Complaint, Defendants have no license to use the technology described in Plaintiff’s

technical materials and claims disclosed in the patents, which are assigned to Plaintiff.

        92.     Defendants’ risk of infringement of the Asserted Patents was either known or was

so obvious that it should have been known to Defendants.

        93.     Notwithstanding this knowledge, Defendants have knowingly or with reckless

disregard willfully infringed the ’044 Patent. Defendants have thus had actual notice of the

infringement of the ’044 Patent and acted despite an objectively high likelihood that their actions

constituted infringement of Plaintiff’s valid patent rights, either literally or equivalently.

        94.     This objective risk was either known or so obvious that it should have been known

to Defendants. Accordingly, Defendants’ infringement has been and continues to be willful, and

Plaintiff seeks enhanced damages pursuant to 35 U.S.C. §§ 284 and 285.

                       Indirect, Induced, and Contributory Infringement

        95.     Defendants have induced and are knowingly inducing their distributors, testers,

trainers, customers, and/or end-users to directly infringe the ’044 Patent, with the specific intent

to induce acts constituting infringement, and knowing that the induced acts constitute patent

infringement, either literally or equivalently.

        96.     Defendants have knowingly contributed to direct infringement by their customers

by having imported, sold, and/or offered for sale, and knowingly importing, selling, and/or offering




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to sell within the United States the ’044 Accused Products which are not suitable for substantial

non-infringing use, and which are especially made or specially adapted for use by its customers in

an infringement of the ’044 Patent.

          97.   Defendants’ indirect infringement includes, for example, providing data sheets,

technical guides, demonstrations, software and hardware specifications, installation guides, and

other forms of support that induce their customers and/or end-users to directly infringe the ’044

Patent.

          98.   Defendants’ indirect infringement additionally includes marketing their products

for import by their customers into the United States. Defendants’ indirect infringement further

includes providing product specifications instructing its customers on infringing uses of the

accused products. The ’044 Accused Products are designed in such a way that when they are used

for their intended purpose, the user infringes the ’044 Patent, either literally or equivalently.

Defendants know and intend that customers who purchase the ’044 Accused Products will use

those products for their intended purpose. For example, Defendant’s United States website,

https://www.litepanels.com/en, instructs customers to use the ’044 Accused Products in numerous

infringing applications. Defendants’ customers directly infringe the ’044 Patent when they follow

Defendant’s provided instructions. Defendants specifically intend that their customers, such as

United States distributors, retailers and consumer product companies, will import, use, and sell

infringing products in the United States to serve and develop the United States market for

Defendants’ infringing products.

          99.   Defendants know following their instructions directly infringes claims of the ’044

Patent and Defendants’ customers who follow Defendants’ provided instructions directly infringe

the ’044 Patent.




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       100.    As a result of Defendants’ infringement, Plaintiff has suffered monetary damages,

and is entitled to an award of damages adequate to compensate it for such infringement which, by

law, can be no less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 US.C. § 284.

                                          VI.     NOTICE

       101.    Plaintiff has complied with the notice requirement of 35 U.S.C. § 287. This notice

requirement has been complied with by all relevant persons at all relevant times.

                                      VII.   JURY DEMAND

       102.    Plaintiff demands a trial by jury of all matters to which it is entitled to trial by jury,

pursuant to FED. R. CIV. P. 38.

                                  VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and seeks relief against Defendants as

follows:

       A.      That the Court determined that one or more claims of the Asserted Patents is

infringed by Defendants, both literally and under the doctrine of equivalents;

       B.      That the Court determine that one or more claims of the Asserted Patents is

indirectly infringed by Defendants;

       C.      That the Court award damages adequate to compensate Plaintiff for the patent

infringement that has occurred, together with prejudgment and post-judgment interest and costs,

and an ongoing royalty for continued infringement;

       D.      That the Court permanently enjoin Defendants pursuant to 35 U.S.C. § 283;

       E.      That the Court find this case to be exceptional pursuant to 35 U.S.C. § 285;

       F.      That the Court determined that Defendants’ infringements were willful;




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          G.   That the Court award enhanced damages against Defendants pursuant to 35 U.S.C.

§ 284;

          H.   That the Court award reasonable attorneys’ fees; and

          I.   That the Court award such other relief to Plaintiff as the Court deems just and

proper.

 Dated: July 12, 2022                            Respectfully submitted,


                                                 /s/ Sean T. O’Kelly
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